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11
11   Attorneys for Official Committee of Equity Security Holders

12
12                               UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
13
13                                 SAN FERNANDO VALLEY DIVISION

14
14   In re:                                                  Lead Case No.: 1:17-bk-12408-MB
                                                             Jointly administered with:
15
15   ICPW Liquidation Corporation, a California              1:17-bk-12409-MB
     corporation1,                                           Chapter 11 Cases
16
16
              Debtor and Debtor in Possession.               ORDER   APPROVING   AGREEMENT
17
17   ____________________________________                    WITH   MATTHEW    PLISKIN  FOR
     In re:                                                  TRUSTEE SERVICES AND APPROVING
18
18                                                           TRUST BOARD COMPENSATION
     ICPW Liquidation Corporation, a Nevada
19
19   corporation2,                                           Plan Confirmation Hearing:
20                                                           Date:    February 12, 2018
20
              Debtor and Debtor in Possession.               Time:    1:30 p.m.
21
21   ____________________________________                    Place:   Courtroom “303”
                                                                     21041 Burbank Blvd.
22
22        Affects both Debtors                                       Woodland Hills, CA

23
23     Affects ICPW Liquidation Corporation, a
     California corporation only
24
24
        Affects ICPW Liquidation Corporation, a Nevada
25
25   corporation only

26
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     1
27
27       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
     2
         Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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                                                         1
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1              A hearing was held on February 12, 2018, at the above-referenced time and location for
2     the Court to consider the motion jointly filed as Docket Number 417 (the “Motion”) by ICPW
3
      Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear
4
      Corporation, a California corporation (“ICPW California”), and ICPW Liquidation Corporation, a
5
      Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada
6

7     corporation (“ICPW Nevada” and collectively with ICPW California, the “Debtors”) and the

8     Official Committee of Equity Security Holders (the “OCEH”) for an order: (1) approving that

9     certain agreement with Matthew Pliskin (the “Trustee”) for trustee services in accordance with a
10    confirmed plan in these cases, and (2) approving certain compensation to the initial members of
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      the trust board (the “Trust Board”) created pursuant to a confirmed plan in these cases. A draft of
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      the agreement with the Trustee (the “Trustee Agreement”) is attached as Exhibit “2” to the
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      Motion. Appearances were made at the hearing on the Motion as set forth on the record of the
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15    Court.

16             As set forth in the Motion, the initial members of the Trust Board will be the current

17    members of the OCEH: Ronald Chez, Scott Jarus and Patrick O’Brien (the “Trust Board
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      Members”). In the Motion, the Debtors and the OCEH (collectively, the “Plan Proponents”)
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      jointly request that the Court (1) approve the Trustee Agreement, (2) approve Matthew Pliskin to
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      serve as the Trustee, (3) approve the proposed compensation to be paid to Matthew Pliskin for
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      serving as the Trustee, and (4) approve the proposed compensation to be paid to the Trust Board
22

23    Members.

24             The Court, having considered the Motion along with all of the statements, arguments and
25    representations of counsel that were made at the hearing on the Motion and the entire record of
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      the Debtors’ chapter 11 cases, no objection to the Motion having been filed, and other good cause
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      appearing,
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1            HEREBY ORDERS AS FOLLOWS:
2            1.      The Motion is granted.
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             2.      The proposed compensation to the Trustee of $300 per hour plus expenses is
4
      approved. The Debtors and the OCEH are authorized to modify the Trustee Agreement in any
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      manner agreed to by the Debtors and the OCEH, provided that the basic substance and purpose of
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7     the Trustee Agreement are unchanged and further provided that the Plan Proponents shall

8     promptly file the final executed version of the Trustee Agreement with the Court.

9            3.      The proposed compensation to each of the Trust Board Members of $40,000 per
10    year plus expenses, paid quarterly in arrears, is approved.
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             4.      The compensation to be paid to the Trustee and to the Trust Board Members shall
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      constitute administrative claims of these chapter 11 estates and shall be binding on any successor
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      in interest to these chapter 11 estates, including upon any subsequently appointed chapter 11 or
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15    chapter 7 trustee.

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           Date: February 15, 2018
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